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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION

IN RE:

JONATHAN ALAN ADAMCIK
Debtor

CASE NO.: 18-50152-RLJ7

SCHEDULE OF EXECUTORY CONTRACTS AND
UNEXPIRED LEASES ENTERED INTO AFTER FILING
OF PETITION BUT BEFORE CONVERSION

TO THE HONORABLE JUDGE OF THIS COURT:
NOW COMES Debtor, JONATHAN ALAN ADAMCIK and pursuant to U.S.C. §
1019(5)(C)(iii) files this his Schedule of Executory Contracts and Unexpired Leases Entered Into

After Filing of Petition but Before Conversion.
I.

i NONE.

Respectfully submitted,

LAW OFFICES OF CLINTON W. COOK
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Clinton W. Cook
SBN.: 04723500
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CERTIFICATE OF SERVICE

Thereby certify that a true and correct copy of the foregoing was on the 14" day of July, 2020,
forwarded to:

Myrtle McDonald __— Certified mail, return receipt requested

3305 66" St. _____ Regular mail

Lubbock, Texas 79413 X_ ~~ Email: myrtlemcdonald1 @gmail.com
U.S. Trustee ____— Certified mail, return receipt requested

1100 Commerce, Room 9C60 ____—s Regular mail

Dallas, Texas 75242 X_ Email: ustpregion06.da.ecf@usdoj.gov

CQ atom (Ob

CLINTON W. COOK
